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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
                v.
                                                3:21-cr-0004-TCB-RGV
   Robert Purbeck



                               CONSENT ORDER

   WHEREAS the discovery materials provided and otherwise made available to
the Defendant by the United States in this case contain sensitive personally
identifiable financial and health information pertaining to individuals who are
not parties to the litigation (hereinafter “confidential personal information”); and
   WHEREAS redaction of all potential confidential personal information in this
voluminous production would be unduly burdensome, and would be subject to
error given the volume of documentation involved in this production;

   THEREFORE, IT IS HEREBY ORDERED pursuant to Rule 16(d) of the Federal

Rules of Criminal Procedure that:
   1. Any and all materials and information provided by the United States to the
Defendant containing confidential personal information are to be used by his
counsel solely in this criminal case and for the purpose of preparing the
Defendant’s defense, and that neither the Defendant, defense counsel, nor
members of the defense team will disseminate, disclose, or provide discovery
materials identified herein, to anyone who is not necessary to the preparation of
the defense.
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   2. All discovery materials containing confidential personal information
provided by the United States, regardless of whether such materials and
information have or will be produced pursuant to Rule 16 or otherwise, shall not
be left with the Defendant, or further disseminated by his counsel to any
individual, organization, or other entity, other than: (1) members of the defense
team, i.e., co-counsel, paralegals, investigators, litigation support personnel, and

secretarial staff; (2) any experts or consultants retained to assist in the
preparation of the defense in this criminal case; and (3) the Court, unless the
confidential personal information identified herein is redacted from such
materials. Upon any dissemination of the materials and information containing
the confidential personal information identified herein to anyone other than the
Court, defense counsel will inform the recipient of this Protective Order and the

requirement to maintain the confidentiality of the information conveyed.
   This Order does not prohibit defense counsel from displaying the materials to
the Defendant via a virtual screen-share function or in person.

   3. Defense counsel, any co-counsel, and any investigators may also display
copies of any discovery containing the confidential personal information
identified herein, to non-expert witnesses, if it is determined that it is necessary
to do so for the purpose of preparing the defense of this criminal case, and may
do so without any notice to the United States. Defense counsel may also provide
copies of discovery documents to witnesses in advance of meeting with them, so
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long as the witnesses agree that they would not disseminate the documents, and
so long as defense counsel retrieves all copies of the documents from the witness
subsequent to meeting with them.
   4. If Defendant’s counsel desires to disclose any discovery or make available
or communicate the content of such discovery containing the confidential
personal information identified herein, to any other person not described in this

Order or for any purpose other than the defense of this criminal case,
Government’s counsel must first be so advised and seek to reach an informal
resolution of or agreement on the matter. If an agreement cannot be reached,
Defendant’s counsel shall apply to the Court for relief from this Order.
   5. This ORDER governs the Defendant’s and defense team’s use of
documents produced in this action from the United States, including documents

that they might already possess prior to receiving discovery, or might obtain
through other means.




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   6. This ORDER shall survive the final termination of this action, and that
upon termination of this action and, upon the termination of any appeal, counsel
for that Defendant shall return all copies of the discovery to the Government, or

shall certify that said documents have been destroyed.


   SO ORDERED THIS ________ day of March 2021.



                                      RUSSELL G. VINEYARD
                                      UNITED STATES MAGISTRATE JUDGE

Prepared by
 Michael Herskowitz, AUSA
Consented to by:
 Andrew Hall, Counsel for Defendant.




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